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UNITED STATES FEDERAL DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

YUSUF J. NURALDIN, p_lQ Y, and/or with standing, and/or in his capacity
as a private attorney genenal, prosecutes this Civil Rjghts Action/Indictment
on behalf of himself, on behalf of The People of The State of New York, and, U~S~ mgqu CoURT- N.D-OFN»Y-
on behalf of all similarly situated employee ZEBRA TEAM Members/Associateqn F a L E D

(lst Amendment Association Rigw, with) Anthony Farella., Sr; Police Officer ' ' ~ ' ~
& a part-time Centro employee; Mrs. Felicia A. Townsend, and, on behalf of FEB 1 5 ZU[]B
U.S. Commissioner EDWARD GARROW, Mediator, of the Federal Mediation
& Conciliation Service (“FMCS”).

 

 

 

 

 

 

 

 

AT O'CLOCK
Plaintiff MK- BW.CBk-Syrawse
-against-
-AMENDED COMPLAINT-

CIVIL ACTION NO: 07-CV-1108
JURY TRIAL DEMANDED

CENTRAL NEW YORK ('CENTRO) REGIONAL TRANSPORTATION AUTHORITY DEFENDANTS:
BOARD OF DIRECTORS (“BOD”): ROBERT COLUCCI (Chairman, “BOD”); BRlAN M. SCHULT
Vice Chainnan “BOD”); H.J. HUBERT (Treasurer); G. JOSEPH CHALIFOUX (Member); NICHOLAS F.
LAIN 0 (Member); VINCENT A. O’NE]L (Member); DARLENE D. LATTIMORE (Secretary);
DERAUX L. BRANCH (Member); MARY DAVIS (Advisor);

WARREN FRANK (Former C.E.O.); JOSEPH CALABRESE (Fonner C.E.O.); FRANK KOBLISKI
(Present, C.E.O.); JOHN RENOCK (SENIOR Vice President Operations); JOE DEGRAY (V ice President
of Operation); RICHARD 1 RICK{ LEE (V ice President of Human Resources) STEVE SHARE (V ice
President of Finance)

GARY NORDHIM (Employee Relations Manager);

JACKIE MUSEI\@ (Benefits Manager),

AUDREY TUCKB (Light Duty Coordinator);

LEO WILLIAME§ (Lead Outside Supervisor);

DAVE MIX (Supervisor);

DUKE BAILEY (Supervisor);

ANGELA GHOLSTON (Supervisor)

DARRYL VANDERPOOL (Outside supervisor);

ELIZABETH UNISLAWSKI (Personal secretary of Senior V. P. John Renock)
PATTY DISHAW (Manager Service Development);

JOE SPERATO (Dispatch Supervisor)

CRAIG WILLIAM_S (Former Director of Human Resources);

TOM SHALLCRQS_S_ (Fonner Manager of All CENTRO Supervisors);
MIKE JABLINSK_I (Former Employee Relations Manager);

CARL BAKER (]Former Employee Relations Manager)

 

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SCOTT VANDERPOOL (former Managerial Supervisor)

WAVERY FAISO_N (Security, and former Employee Relations Manager and
Trainer);

ELLIE RUSTON (Former Outside Supervisor)

SHAWN McMANUS, Bus Operator (Former outside supervisor);

ROBERT C. SPRAGUE, Jr. (Former Chief Administrative OHicer);
KATHY FULLE& (Supervisor of Regional Transportation Center (RTC)
WARREN WOC»DRUFF (Manager of RTC);

ANGELIC MASU (Former Supervisor), and

DAVE KRIESAL (Former supervisor);

LON LARGE (Dispatch supervisor).

ED MUELLAR (the former Union Vice President that filed false, fraudulent, and
misleading charges against Plaintiffs’, e_t: §., and, thus, was rewarded by
CENTRO with a Managerial position in Service Development);

-and against-

CENTRO’S LAW FIRM: FERRARA, FIORENZA, LARRISON, BARRETT &
REITZ, P.C., VIA ATT()RNEY(S), FRANK MILLER; CRAIG M. ATLAS; AND/OR
MILES LAWLOR, ET. AL.

-and against-

AMALGAMATED TRANSIT UNION (Local 580 and/or International) A-F-L, C»I-O):
WARREN GEORGE (Ir\ternational Union President); JOSEPH WELCH (International V.P.);
CHUCK WATSON (Bwsiness Agent, Secretary Treasurer); JOHN CAMPBELL (former Union
President); DORTHY HlUNTER(former Union V.P., and President); MARY NEGUENT (former
Union Secretary); AL PARKER (former Union V.P); BILL MONTROY (Union Representative
for Bus Mechanics); HQMER DAVIS (former trial committee investigator); BONNIE KRELL
§[]nion member); BOB FAIRCHILD (Union member); MIKE CONWAY (Union member);
MARY JANE TORTORICI (former Union Board member); PERRY TAR§ QUINO (retired union
member); ELLIOT ROUY (retired Union member); CARLTON DERBY (Union member);
TYRONE BURKE (former Centro Supervisor, now Union President); SCOTT HAMILTON
(Union Board member); KENNETH ORR (former union trial committee); DANA McMAHON
(Union trial committee); BILL MINER (Union trial committee); JEFF KELLER (Union trial
committee); FRANK CH[APMAN (V.P.); JOHN ZIEMBA (former Union board member) and,

-and against-

¢ STEPHANIE A. MINER, OF THE LAW FIRM OF BLITMAN & KING (UNION
LOCAL 580’S LAWYERS)

-and against~

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N. Y. STATE WORKE S COMPENSATION BOARD |“WCB”} MEMBERS AND

EMPLOYEES: BOARD MEMBERS:

 

KARL A. HENFL;

SCOTT C. F[RESTONE;

CAROL G. McMANUS;

JUDGE MR. B()HER; WCB

VANESSA E. JACKSON; COURT STENOGRAPHER,
MICHELE ZAJA£; WCB ADMINISTRATOR
MICHAEL J. O’BRIEN ; WCB ATTORNEY,

 

-and against-
ATTORNEYS WOODS AND RICHMOND (CENTRO’S “WCB” LAWYERS)
-and against-

“PERMA” CENTRO’S (“WCB”) INSURANCE CARRIER (A/K/A PUBLIC EMPLOYERS
RISK MANAGEMENT, UNDER THE LEADERSHIP OF C.E.O, “JOHN DOE” AND/OR
“JANE DOE” AND THEIR AGENTS: JANE MOKAY, ET. AL.

 

-and against-

“RMSCO” CENTRO’S\ (“DISABILITY-NO-FAULT”) INSURANCE CARRIER, ALL, UNDER
THE LEADERSHIP OF C.E.O., “JOHN DOE” AND/OR “JANE DOE” AND THEIR AGENTS
“JANE MILES” §L &:

-and against-

N. Y. STATE UNEMP]LOYMENT INSURANCE BOARD, UNDER THE LEADERSHIP OF
“JOHN DOE” and/or “JANE DOE” CHAIRPERSON AND THEIR INTAKE SPECIALIST
“JOHN DOE,” AND/OR CASE MANAGER SPECIALIST, Mr. DON LIVINGSTON.

-and against-

ZURICH A]WERICAN INSURANCE COMPANY, UNDER THE LEADERSHIP OF
“JOHN DOE” and/or “JANE DOE” C.E.O., AND/OR THEIR CLAIMS EXAMINER:
ADOLFO S. HERNANDEZ.

STATE OF NEW YORK UNIFIED COURT SYSTEM, ONONDAGA SUPREME AND
COUNTY COURTS: DEFENDANTS: MARY THOMASON; DEBORAH STOLTZ: MARY
LOU CROWLEY; HONO]RABLE JUSTICE, WILLIAM R. ROY,

" MATTI-IEW E. BERGERON (AT'I`ORNEY) SATTER & ANDREWS LLP.

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INTRODUCTION, JURISDICTION, AND VENUE

By this federal civil rights complaint, Yusuf J. Nuraldin, (“Plaintiti”), seeks to prosecute each and every
named Defendant, all, so as to vindicate, once and for all, each and every guaranteed fundamental state and
federal constitutional right denied to him, as an employee, by the Defendants. Plaintiff’s decision to tile this
civil action, at this time, came about only after he was unable (for years) to appreciate that he was being
intentionally discriminated against by Defendants until he had lived through a series of incidents (i.e., both,
pre-termination and post-terrnination) and was then able to perceive the overall discriminatory pattem.

For example: Within the last 30 months, Plaintiff was told, by a white employee, with personal knowledge,
that the Union would not have Ok’d Plaintiff’ s unlawful discharge, on October 18, 2001, had he been a
white male, on probation, and on at least 3-4 last chance letters; or, been the “white male” then previously
fired, and later reinstated, by CENTRO, via the Union’s use of thirty (30) thousand dollars, at arbitration,
defending the charge that a white male CENTRO bus operator had use the word “NIGGER” to a student
Based upon the these recently disclosed incontrovertible facts, the federal courts should find that all of the
Defendants’ decade long recklessness, or callous disregard of Plaintift’s state and federal constitutional
rights, that said lawlessness cannot today be tolerated in an ordered society and, thus, that the Defendants’
unprovoked, pervasive, longstanding and widespread prejudice also Will not continue based upon unlawful
excuses, and/or inability, of the Defendants [due to political pressure or “buddyism”] to dispense racial
justice and equality in a fair and impartial manner. Finally, Plaintiti` (Yusuf J. Nuraldin) prays that the
federal courts, after this filing, order that each and every Defendant herein cease and desist from engaging
in any further and/or future acts of unlawful discriminatory employment practices, if not, then we might as
well turn back the clocks to 150 years ago and live our lives under the Dred Scott Decision Case, of 1857,
where the key question then before the Justices of the U.S. Supreme Court was: “Whether in the eyes of the
men who wrote the Constiwtion and the words, “We The People,” were these words intended to include

the African race (Plaintiff)? The answer, by former U.S. ChiefJustice, Mr. Taney, was as follows:

“We think they are not, and that they are not included and were not intended to
be included. They had for more than a century before been regarded as beings
of an inferior order, and altogether unfit to associate with the white race, either
in social or political relation; and so far inferior that they had no rights which
the white man was bound to respect and that the negro might justly and lawfully
be reduced to slavery for his benefit . . . This opinion was at that time fixed and
universal in the civilized portion of the white race. It was regarded as an axiom
in morals as well as in politics, which no one thought of disputing, or supposed
to be open to dispute; and men in every grade and position in society daily and
habitually acted upon it in their private pursuits, as well as in matters of public
concern_, without doubting for a moment the correctness of this opinion

(se_e1 S. Ct. 19 How. 393-633).

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The final conclusion then reached by the U.S. Supreme Court, in 1857, was that African Americans were

not citizens of the United States and thus they had rights which the white man was bound to respect

H§DERAL COURT’S JURISDICTION AND VENUE

Federal Court Jurisdiction is conferred upon this Court by 28 U.S.C. § § § § 1331; l332(a) and (l); 1337
(Commerce Clause) l367(ai); Section l39l(b) and, al_s_o B, This Court’s federal Jurisdiction is further
invoked pursuant to subject matter jurisdiction over Plaintiff’s claimed violations of his rights, privileges
and immunities under federal law to, “have the same right in every State and Territory to make and enforce
contracts, to sue, be parties,, give evidence, and to the full and equal benefit of all laws and proceedings for
the security of persons and property as is enjoyed by white citizens, and shall be subject to like punishment,

pains, penalties, taxes, licenses, and exactions of every kind, and to no other”.

The Court’s jurisdiction is also being invoked, under our U.S. Constitution and laws, due to Plaintiff being
a member of a racial minority (as a Dark-skinned, Afi'ican American) and a born and proud citizen of these

United States of America and, by virtue of said status, entitlement to all rights, privileges and immunities,

 

all, are now being called upon pursuant to the Federal Constitution, under Article I § 8, cl.3, [F‘to regulate
commerce * * * among the several states”; Art_icle_l § 10 [Law impairing the Obligation of Contracts and,
the “ex post facto Law” where applicable herein] and, Title H of the 1964 Civil Rigl_rts Act, and finally, the
Constitution’s Amendments Q, id_‘_, £, 8_"';, Q_h_, § (“Black Codes”) 1 & LE; and, not excluding,
Plaintiff’s fundamentally guaranteed federal Constitutional Rights and Laws and/or civil rights, v_v_l@
applicable, herein under 42 U.S.C. § 1981; 1983, 1985(2)(3) and 1986; and § 1988; als_o` as to Un_ion
Defendants, the Court’s Jurisdiction is being invoked under, Title I of the Labor Mar@gement Reporting
and Disclosure Act (“LMRDA”) (subchapter II of the A_ct, is entitled “Bill of Rights of Members of Labor
Organizations,” 29 U.S.C. § § 411-415. Americans With Disabilities Act (“ADA”) 42 U.S.C. § 12101, §e_CL

 

 

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Black’s Law Dictiong (7‘h Edition), p. 163, defines “black codes” as follows: l. Antebellum state laws enacted
to regulate the institution of slavery. 2. Laws enacted shortly after the Civil War in the ex-Confederate states to
restrict the liberties of the newly freed slaves to ensure a supply of inexpensive agricultural labor and to maintain
white supremacy. “Clearly, leaders of the old South who survived the war were in no mood for racial equality. It was
a bitter enough pill that the slaves were legally free; there was no inclination to go beyond the formal status. The
Black Codes of 1865, passed in almost all the states of the old Confederacy, were meant to replace slavery with some
kind of caste system and to preserve as much as possible of the prewar way of life.” Lawrence M. Friedman. A
History of American Law, 504 (2d ed. 185)

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Finally, and due to Defendants massive frauds which involve a voluminous amount of unconstitutional (and
where the Court finds R.I.C.()-like acts) acts that, due to Defendants on-going unlawful discriminatory
employment practices were a regular means by which the Defendants conduct their ongoing legitimate
business and, by its nature, said unlawful acts and/or crimes projects into the future with a threat of
repetition. This Court’s Federal Jurisdiction is also being invoked, so as to toll the statute of limitations
period, prior to October 18, 2001, under the doctrine of “fraudulent concealment” due to the fact that the
doctrine of “fraudulent concealment” was designed to prevent a party, as in this case, from concealing a
fraud, or committing a fraud in a manner that it concealed itself until such time as the party committing the

fraud could plead the statute of limitations

THE COURT’S PENDEN'I` JURISDICTION

The Federal Court’s pendent jurisdiction is being invoked since many of the Defendants illegal acts, and/or
unlawful conduct, all, complained heretofore, herein, and hereafter, by Plaintiff, all, contravene the laws
and Constitution of the State of New York; specifically, A_rt. I, § 6 [due process]; g 1, § 8 [Freedom of
speech and press] g l § 9 [Right to assemble and petition]; Art I, § 1 1 [Equal protection of laws,

discrimination in civil rights prohibited]; Art. I, § 12 [Security against unreasonable searches, seizures and

 

interceptions]; Art. I, § 17 [right to organize and bargain collectively], New York State’s Civil Rights Law,
§ 40-c(1) and (2); Article 6, § 60 (individual’s right to change of name); cf. § l9-A of N.Y. State’s Vehicle
and Traffic Laws (VTL); New York Penal Law, § 195.05, Obstructing governmental administration in the

 

 

second degree (class A misdemeanor); also @, New York Penal Law, § 195.00, (1)(2) Official misconduct
(by a public servant, is class A misdemeanor) 2 and, al_so _se_e, P.L. § 215.15(1)(2) Intimidating a victim or

witness in the third deg@ (is a class E felony); P.L. § 175

 

2 “Public servant” under Official Misconduct, is defined “broadly enough to include not only every category of
government or public ‘officer,’ but every ‘employee’ of every such officer or agency, every person specially retained
to perform some government service and every person who, though not having yet assumed his official duties, ‘has
been elected or designated to become a public servant’ [P.L. § 10.00(15)]. Denzer and McQ\_rillan, Practice

Commentary to § 10.00, Mckinney’s Penal Law (1967). ga e.g., Matter of Onond_a_ga Coung District Attorney’s
Of`tice, 1983, 92 A.D.2d 32, 459 N.Y.S.2d 507 ; People v. Kruger, 1982, 87 A.D.2d 473, 452 N.Y.S.2d 78.

“Benefit” under Ofiicial misconduct is also defined broadly to include any gain or advantage to the beneficiary as well
as any gain or advantage to a third person pursuant to the desire or consent of the beneficiary [§ 10.00(17)].

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DEFENDANTS

The Central New York Rggional Trans@rtation Authorig (“CENTRO”) is a public authority and a
public benefit corporation, pursuant to Public Authorities Law § 1328(1). CENTRO is organized under
Article 5, Ii_tle 1 1-D of the Public Authorities Law. In addition to the general authority granted to public
employers under Taylor L:M (Article 14 of the Civil Service Law), CENTRO is authorized by its enabling
legislation “to enter into collective bargaining agreement (“CBA”) with labor representatives” (§;e_c;, Public
Authorities Law, § 1331(A)(14), 1332(5). Its subsidiaries include, CNY Centro, lnc., Centro of 0swego,
B, Centro of Cagga, lnc., and Centro of Utica, lnc (collectively referred to as “CENTRO”), all, are
public benefit subsidiary corporations of CENTRO which directly employs mechanics and bus operators.

Under the terms of the CBA between CENTRO and the Amalgamated Transit Union, Local 580, Syracuse
N.Y., (CBA of which Plaintifi` Was unlawfully terminated) Defendants Kobliski Renock, Share, Deg@y

 

and L._eg1 eL a_l.._ (all, acting under color of state law and/or in their capacity as public servants,), all, then
were parties to said CBA with a term from November 1, 1999 through October 31, 2002. Thus, pursuant to
§ 209-a.1(e) of the Qili_l§:rvice Law (the “Tri-borough Amendment” to the Taylor Law , the terms of the
1999-2002 CBA continued in effect then beyond its expiration date, until the parties reached agreement on
a new contract Therefore, said CBA, §gp_ra1 as well as all CBAs in effect prior thereto, all, was in effect at
all times relevant to this Civil Rights Action; thus, each Defendant, §§pr_a, due to their fiduciary relationship
to Plaintiff and due to Plaintiff’s reposed confidence in Defendants due to Defendants superior expertise or
knowledge, all, was responsible for the overall control, supervision, management, and/or enforcement of
each and every CBA’s terms and conditions of Plaintiff’s p_r_e and/or M-employment under the CBA’s

rules and/or regulations, pursuant to its Conformity to Law and/or Non-Discrimination Clauses, etc, etc.

Finally, and based upon the above, each Defendant, grigg then was also responsible for ensuring that
Plaintiff’ s rights, privileges, terms, and/or conditions of his employment were administered to him in a
constitutionally fair, impartial, non-discriminatory, non-fraudulent, manner as mandated in said CBA and,
not excluding, Defendants compliance with, and/or enforcement of`, Plaintiff’s rights, privileges, and/or
immunities under U.S. Q)Lm_t. A_me_rLi Ms_t (f`reedom of speech, association, right to petition government
for redress of his grievances, assembly) M (due process); §ghth(cruel and unusual punishment);l&th'1
Thirteen (Black Codes) and Fourteenth and, not excluding, Plaintiff’s right not to be discriminated against

 

based upon his race, color, sex, religion (name), gender, disability, fraud, fraudulent concealments, access

to the courts, conspiracy, R,.I.C.O., and/or Plaintiff’s right to privacy.

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Def`egr_i_qt CENTRO’s B'oarr_l of` Directors (“BOD”), we repeat and realleges the above facts and laws,
where applicable; thus, the BOD, under Lm__e_ CBA, s_up_r“itl and under all other CBA’s ratified prior thereto,
all, had same duty and responsibility to comply with and/or obey all state and federal laws and/or monitor,
control, supervise, manage, correct, discipline, and/or terminate, any and/or all CENTRO Defendants that
they knew and/or should have known that were engaged in unlawful, and/or egregious, discriminatory
and/or fraudulent employment practices against the Plaintiff and “others;” thus, said BOD too was
responsible for the overall control, supervision, management of CENTRO’s Executive, Managerial, and/or
Supervisory personnel and, thus, they, especially, had a duty and an obligation to Plaintiff, and specifically
to the public, so as to avoid, as here, a repeat performance of yesteryears Newsworthy Federal Civil Rights
case, involving former CENTRO Supervisor Gary Morris, before a federal jury, where Mr. Morris detailed
to a federal jury how same Defendants, YB, year after year had engaged in the almost identical type of
racially motivated unlawful discriminatory employment practices as complained of herein by the Plaintiff
and, that same Defendants:, too, had engaged in similar frauds which were frowned, upon after the trial, and
editorialized by the Syracuse-Herald Joumal Newspapers wherein the author then stated, in words and/or in
essence, that if CENTRO had a anti-discrimination policy then they should have used it for the benefit
Central New York’s tax-paying citizens. 3

 

3 Corporate law generally gives broad power to the board of directors of a corporation to name and appoint the
corporation’s officers, in accordance with the corporation’s bylaws. The ofiicers may be empowered, again in
accordance with the bylaws, to appoint other officers, and one person may hold multiple officers. The legal approach
here is to give the board of directors considerable discretion on appointing agents who will manage and operate the
finn. With the possible exception of the secretary, the typical officers are those with, whereas here, a policy-making or
specific operating responsibility in the corporation: the CEO, the CFO, the general counsel, the president, treasurer
and vice-president in charge of a division. As part of its operational responsibility, that is, Directors and/or Offrcers’
liability herein, senior management is charged with:

Qp_erating the cog&ration.'l'he CEO and senior management run the corporation’s day-to-day business operations
With a thorough understanding of how the corporation operates and earns its income, they carry out the corporation’s
strategic objectives ( “unlawfirl discriminatory employment practices against Plaintiff) within the annual operating
plans and budgets, which are review and approved by the board. In making decisions about the corporation’s business
operations, the CEO considers the long-term interest of the corporation and its shareholders and necessarily relies on
the input and advice of others., including senior management and outside advisers. The CEO keeps the board apprised
of significant development regarding the corporation’s business operations.

Strategic planning The CEO and senior management generally take the lead in strategic planning They identify and
develop strategic plans (both legal, or lawful, and/or illegal and/or unlawful) for the corporation; present those plans to
the board; implement the plans once the board review is completed; and recommend and carry out changes to the
plans as necessary. Under most by laws, senior executive officers, particularly the CEO or the President, have
considerable authority and can bind the firm, except in the most extraordinary of events. The authority of other
officers is similarly circumscribed as to their positions in the firm (citations omitted).

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New York State Worl_r_ers CoMsation_Board (“WCB”) Defenda_nts, Plaintiff repeats and realleges all
the above facts and laws, Where applicable, including, but not limited to, Defendants CENTRO and
Union’s “CBA. ” Defendants WCB, all, are employees of the State and, as a matters of state law, they too
had/have a duty, responsibility, and/or obligation, “in good faith” to assure that each and every employee
named herein at the WCB, located at 935 James Street, Syracuse, N.Y., complies with and/or obeys all the
laws, statutes, provisions and/or rules of our New York State and Federal Constitutions, as applicable to all
unlawful discriminatory practices (@, WCL § 120, discrimination) and, Specifically, Plaintiff’s rights,
privileges, and/or immunities under U.S. M. A_megd_. F_i_r_st (freedom of speech, association, right to
petition government for redress of his grievances, assembly) U (due process); §igm(cruel and unusual
punishment); I;Ii_nt_h_; and IhirtM (B lack Codes) and Fourteenth and, not excluding, Plaintiff’s right not to
be discriminated against based upon his race, color, sex, religion gender, disability, fraud, fraudulent

concealments, access to the courts conspiracy, R.I.C.O., and/or Plaintiffs right to privacy.

PERMA: (“PUBLIC EMPLOYERS RISK MANAGEMENT”) Plaintiff repeats and realleges, where
applicable, all the above facts and laws, including, but not limited to, Defendants CENTRO and Union
“CBA,” plus, PERMA is a corporation organized and existing pursuant to the laws of the state of New
York, with its principal place of business believed to be located in New York’s State’s Capitol, Albany
New York and, as such, PERMA’s employees, by law, have the same duties, responsibilities and/or

obligations to follow and/or enforce state and federal laws as the WCB, supra.

RMSCO: CENTRO’S D]iSABILITY-NO-FAULT INSURANCE CARRIER: As to each and every
named Defendant, sup& Plaintiff repeats and realleges herein the above facts and laws, where applicable,
including, but not limited to, Defendants CENTRO’s and Union’s “CBA”, except that RMSCO’s principal

place of business is believed to be located in Syracuse, New York.

ZURICH AMERICAN INSURANCE COMPANY: CENTRO’S DISABILITY INSURANCE
CARRIER: As to each and every named Defendant, s_upr§ Plaintiff repeats and realleges the above facts
and laws, Where applicable, and Defendants’ CENTRO and Union “CBA,” except that ZURICH
AMERICAN INSURANCE COMPANY’s principal place of business is believed to be located

STATE OF NEW YORK UNIFIED COURT SYSTEM: ONONDAGA SUPREME & COUNTY
COURTS: As to each andi every named Defendant, s_u_B, Plaintiff repeats and realleges all the above
facts and laws, including, hut not limited to, Defendants CENTRO’s and Union’s “CBA” and, the term
“fiduciary duty” and/or obligation” where applicable,

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AMALGAMATED TRANSIT UNION LOCAL 580/INTERNATIONAL UNION: AS to each and
every named Defendant, gm Plaintiff repeats and realleges all the above facts and laws as applicable

DEFENDANT{S[: ALL UNION ATTORNEYS AND/OR LAWYERS NAMED HEREIN

As to each and every named Union Attorney and/or their respective laws firms, Plaintiff repeats and
realleges the above fact and laws, including the term “fiduciary duty” and/or obligation, where applicable.
Additionally, Defendants, as officers of the court, and sworn to uphold the constitutional laws of both the
New York State and Federal Constitutions, all, knew and/or should have known of that their violation of

Rule 1 l of the Federal Rules of Civil Procedure (FRCP) and/or same violation under state xxxxxxxxx that

 

said violations contravened his, or her, Code of Ethics under the Professional Responsibility Standards,
Rules & Statutes, in that, each lawyer knew and/or should have known the following: that as an officer of
the legal system and public citizen they have special responsibility for the quality of justice; and that each

of them, now, under RULE 3.3 Candor Toward the Tribunal acting, either, individually and/or collectively

 

(excluding the state courts below) shall not now knowingly (in the federal courts) commit the following:

(l) make a false statement of material fact or law to a tribunal;

(2) fail to disclose a material fact to a tribunal when disclosure is necessary to avoid
assisting a criminal or fraudulent act by the client;

(3) fail to disclose to the tribunal legal authority in the controlling jurisdiction known to
the lawyer to be directly adverse to the position of the client and not disclosed by
opposing counsel; or

(4) offer evidence that the lawyer knows to be false. If a lawyer has offered material
evidence and comes to know of its falsity, the lawyer shall take reasonable remedial
measures

(b) The duties stated in paragraph (a) continue to the conclusion of the proceeding, and
apply even if compliance requires disclosure of information otherwise protected by
rule 1.6.,

(c) A lawyer may refuse to offer evidence that the lawyer reasonably believes is false.

(d) In an ex parte proceeding, a lawyer shall inform the tribunal of all material facts
known to the lawyer which will enable the tribunal to make an informed decision,

Whether or not the facts are adverse (al_so B, M_E_3.4 (a) Faimess to Qp@sing

I_’Ly . . .; LU_L_E 4. l(a)(b) Truthfulness in Statement to Others; RULE 5. l(a)(b)

(c)(l)(2), Responsibilities of a Partner or Supervisorv Lawver; RULE 5.2(a)(b)

Responsibilities of a Subordinate Lawver; RULE 8.4, e_t. seq.. Misconduct.

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COLLECTIVE BARGAIN[NG AGREEMENT (“CBA”) between CENTRO & UNION,

Conformity to Law: This agreement and its component provisions are subordinate to any present or future
Federal or New York laws and regulations. If any Federal or New York law or regulation, or final decisions
of any Federal or New York court of administrative agency, affects any provision of this Agreement, each
such provision will be deemed amended to the extent necessary to comply with such law, regulation or

decision, but otherwise this Agreement will not be affected.

N()N-DISCRIMINATION: Both parties agree not to discriminate against any employees or applicant for
employment because of race, creed, sex, color or national origin, and will take affirmative action to insure
that they are afforded equal employment opportunities without discrimination because of race, creed, sex,
color, or national origin. Such action shall be taken with reference to, but not limited to: recruitment,
employment, job assignment, promotion, upgrading, demotion, transfer, layoff`, or termination, rates of pay
or other forms of compensation and selection of training or retraining including apprenticeship an on-the-

job training.4

 

4 Noteworthy, on or about June 29, 2007, approximately 200-400 Union members ratified a proposed contractual
agreement with Defendant CENTRO and, in said ratified proposal, both, the Union and CENTRO agreed fo_r the w
time iri CBA history that “sexual preference” would be included in the then “new” contract, thus providing legal/j ob
protection to individuals such as PEGGY THOMAS, an admittedly GAY female who was unlawfully discharged by
CENTRO, under the above CBA ratification-agreement Recently, however, it was discovered that because Plaintiff
was representing Ms Thomas in her Unemployrnent Insurance case (and a case likely to be reversed on appeal and,
thus thereafter a civil action will be filed in the federal court) the Union and CENTRO secretly, via fraud and/or
fraudulent concealment, and without knowledge, or consent from the 200-400 membership, arbitrarily “deleted” said
“sexual preference” language out of the “new” CBA’s Conformity to Law Clause/Non-Discrimination Clauses, all, so
as to prevent this Plaintiff from alleging and thus proving, via Ms PEGGY THOMAS, that the Union and CENTRO,
historically, never accepts, nor investigates g grievances filed by Afiican Americans, complaining of discrimination,
unless whereas in Ms. Peggy Thomas case (“after” her termination) her written grievance was accompanied with a
unsigned cover-letter informing CENTRO and UNION that she (and both Centro/Union had already known that she)
was GAY, Plus “black”, Plus “disabled.” Simply Put, for over 17 years, or more, Plaintiff never knew that he being
“straigh ” Plus “Black” complaining of discrimination, that his “straight” blackness iri/of itself, at CENTRO QI_Q
I;I_(_)_I COUNT. Simply put, Plaintiff just discovered that you must be “GAY” Plus “Black” or vice veisa, to be heard.

PlaintifPs purpose and/or reason for, initially, alerting the Court to the above issue of his client’s Ms. Peggy Thomas
“sexual preference,” under our state and/or federal constitutions, all, is to save time by cutting to the chase (on the
issues of fraud/fraudulent concealment/breach of contract, thus, tolling Plaintiff s 42 U.C.C.§ § § 1983, 1985(2)(3)
and 1986, complaints Recently, on or about July 23, 2007, Plaintiff then received (for the first time), in writing, that
both Defendants CENTRO and the Union takes serious and/or investigates ONLY those employee grievances (i.e.,
post-terminated, non-employee, grievances), challenging unlawful discriminatory employment practices, that are filed
by black employees (like Ms Peggy Thomas) who are “gay,” and “black”; that both Defendants (over 17 years) either
ignored and/or dismissed, out right, any and all of Plaintiff s grievances that spoke on matters of public policy simply
because he was “straight” and “black.” In fact, recently, on July 23, 2007, July 25, 2007, and on August 1, 2007,
former CENTRO Bus Operator Ms. Peggy (Nikea)Thomas (“after” her termination) received in the mails three (3)
separate letters from Defendants CENTRO and the Union, all, in reply to this Plaintiff having filed a post-termination
giievance, on Ms. Thoirias’s behalf, together with a one (l) page complaint threatening a Civil Action under Title VII
of the 1964 Civil Rig_lits Act. Both Defendants in their reply letters then wrote and told Ms. Thomas that they would

 

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M
_C_HA_R_GE

§ 3.01 Definition of a Cha_rg

For the purpose of this agreement, a charge shall be defined as a statement of alleged rule violation,
preventable accident or other act of misconduct put forth by the Employer against an employee or
employees. Such an allegation could result in a disciplinary action, including but not limited to:
instruction, warning, suspension, time served at the bottom of the list, probation, discharge and/or
other monetary perialty.

§ 3.02 (a) All charges must be filed within (15) business days from the date the Employer became
aware of the cause that precipitated that charge(s). In cases where the Company can
substantiate the need for additional time to investigate a particular charge, the Employer
may file said charge within thirty (30) business days. Business days shall mean Monday
through Fiiday except legal holidays. Substantiation for anything beyond 15 business days
shall be provided to the Union in writing within two (2) business days of the charge having
been made

(b) A charge shall be considered filed when notice is given by the Employer in any one of the
following waj§

(1) An employee receives verbal or written notice to see the official in charge
regarding a charge, Verbal notices shall be followed up by written notices
within 5 business days.

(2) The Union receives verbal or written notice that an employee is to see the official
in charge regarding a charge. Verbal notice shall be followed up by written
notice on the next business day.

(c) Any charge which is not filed in accordance with the time periods in (a) above will be

 

“investigate” and/or “evaluate” any and all allegations mentioned in her post-termination grievance, of “not (being)
afforded the opportunity (mul.tiple chances) given to white employees who have committed far worse acts than
yourself`,” “disparate treatment,” and, to complete their investigation Defendants then asked Ms. Thomas to submit
“any evidence”, whatsoever, supporting “the acts that they (whites) committed” and, to “Please include all pertinent
information including dates, times and witnesses if applicable” (se_e, copy of Defendants’ three (3) letters and, Ms.
Thomas’s employee grievance (that was prepared by this writer), all, attached hereto, under PEGGY THOMAS
(Noteworthy, however, is that Ms. Peggy Thomas, is the fi_rst gay member of Central New York’s ZEBRA TEAM)

Base upon the above, Plaintifi` hereby contends tliat, until said discovery, su[Mx both Defendants, made it such and/or
concealed from the Plaintiff that “straight” black employees, such as he, would be kept unaware that a cause of action
existed on their pre-termination/post-termination grievances concerning issues involving unconstitutional employment
practices inviolation of the CBA, and/or inviolation, whereas here, Plaintiff’s Ls; M, nin_th thirteenth and fourteenth
amendments rights, that said grievance would not be investigated unless he was gay, plus black. Therefore, defendants
actively and/or effectively, concealed from Plaintiff that being “black” iri/of itself was/is insufficient with Defendants
to go out and investigate complaints of race-based discrimination (&e_` Long v. F@k, 22 F.3d. 54, 58 (2d. Cir.1994),
§Lt. denied, 5213 U.S. 1128, 115 S.Ct. 938, 130 L.Ed. 2d 883 (1995), Lsg se_e, New York v. Hendrickson Brothers.
_IL 840 F.Zd 1065, 1083 (2d. Cir.), §_e_rL denied, 488 U.S. 848, 109 S.Ct. 128, 102 L.Ed.2d 101 (1988).

 

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waived by the Employer and may not thereafter be subject to disciplinary action. lt is
understood that any time limits may be waived by mutual agreement

(d) ln cases where an employee is summoned to answer a charge, a copy denoting the nature of
the charge shall be forwarded to the union. Said copy shall be forwarded to the union prior to
any meeting regarding alleged charge(s) that may involve time off or removal from service

3.05 HEARINGS BETVVEEN EMPLOYEE/EMPLOYER/UNION

(a)

(b)

(C)

Prior to a hearing with the Employer, the employee will be made aware of the
date and the nature of the alleged violation, Prior to any meeting regarding
alleged charge(s) that may involve time off or removal from service, a copy
of` said charge(s) shall be forwarded to the Union

(1) The employee will then be advised of his or her rights to Union
representation and asked if he or she requests that a Union official
be present The Company document relative to such hearing will
reflect this fact (i.e., Centro’s PERSONNEL REPORT)

(2) At the conclusion of any hearing in which disciplinary action is imposed,
the employee will sign that part of the Personnel Report which indicates
whether a Union official was present, and will sign the appropriate line
indicating receipt of a copy of the report.

An employee may, after hearing the charge, request an adjournment of two (2)
business days for the purpose of obtaining Union representation This period
may be extended by mutual agreement between the Employer and the Union.

At least twenty-four (24) hours prior to any hearings between the Employer and
the employee, the outcome of which may result in termination, “the Union”

(“Emphasis ours”) will be given a copy of all pertinent evidence that the
Employer intends to use at the hearing. Upon review of said evidence, the Union
may request postponement of the hearing to prepare a defense, provided such
interval is of reasonable length”.

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PLAINTIFF’S PRELIMIN L S
CaS€ 5207-CV-OllOS-DN'FITGUD_UUCWTT€`HT14AB;GULE%%MP&Q€ 14 Of 38

Plaintiff hereby repeats and re-alleges all the foregoing and additionally claims:

The Plaintiff began his employment with Defendant CENTRO in February 1992, as a part-time bus
operator and he continued in said involuntary capacity until, on Wednesday October 10, 2001, his then
immediate supervisor, Defendant Duke Bailey, unlawfully, and then unprovoked, used excessive force, on
Plaintiff (at CENTRO’s Headquarters) by physically beating Plaintiff to the floor, all, in front of a fairly
large group of bus operator eye-witnesses, all, because Plaintiff then, after picking up N.Y. State disability

forms, chose to engaged in a peaceful and friendly conversation with other fellow bus operators.

That the Defendants, each acting, either, individually and/or collectively, with others, and/or acting or
pretending to act under color of state law in their official and/or unofficial capacity, and/or acting
personally and/or under the direction of his/her superior(s), all, via an official long-term policy and/or
custom, and all conscious of or trying to influence the law, or endeavoring to obstruct or interfere with it,
they all, with intent that conduct constituting a violation of state and federal law be performed, said
Defendants herein, in carrying out the above unlawful acts against Plaintiff, all, did knowingly,
intelligently, intentionally, deliberately, purposefully, maliciously, willfully, voluntarily, and in “bad faith”
agreed with each other and with others to falsely, f`raudulently, and/or misleadingly, attach a “Badge of
infamy” upon Plaintiff by unlawfully classifying him then as career long “non-promoteable,” thereby,

subjecting him (without due process) to a code not applicable to any other employee.

That the Defendants intent and/or purpose, at all times, during his entire tenure with Defendant CENTRO,
was to attach a badge of inf`amy to Plaintiff and, then, thereby, subject Plaintiff to the infamous “Black
Codes” long ago outlawed `by our country’s Reconstruction under the Thirteenth, Fourteenth, and/or
Fifteenth amendments). That, said “code” (f`rom December 1991, until October 18, 2001, on-going caused
Plaintiff to (and Plaintiff did) work, and/or stand (before all Defendants named heretofore and/or herein)
unequal before the laws of both our state and federal laws and/or constitutions and same false and
fraudulent badge of infarny and/or black codes, also, caused Plaintiff to (and Plaintiff did) work, and/or
stand, unequal before the D'efendants, and/or his former co-workers, under both Defendants (i.e`.,
CENTRO’s and the Union’s) Collective Bargaining Agreement (“CBA”).

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That the Defendants “code” and/or “badge of infamy” caused Plaintiff to be unlawfully denied the
opportunity, the right, and/or privilege (as was afforded to other bus operators, both black and white) to
train, with pay, as a full-time bus operator and/or, altematively, effectively denied him the opportunity to
drive as a Part-time bus operator, 35-80 hours per week, as was allowed for “othei” bus operators (both
black and white, male and female), in excess of, and/or in gross violation of, the CBA’s mandatory limit of
twenty five (25) hours for Part-time operators (B, CBA, attached hereto, at Art. XXV § 25.01(9), pgg§
72)

 

That the Plaintiff`, all through his almost ten (10) years of employment, with Defendant CENTRO, as a
part-time bus operators, with no benefits, continued to repose confidence in both herein Defendants (i.e,
CENTRO and his Union) even after he was unlawfully and fraudulently terminated, and (rightly or
wrongly) Plaintiff also reasonably relied on, to his detriment, Defendant’s superior expertise, and/or
superior knowledge, together with Defendants (1991) then expressed and/or implied promise in Defendants
advertisements to the public that part-time bus operators will be afforded the opportunity to go full-time,

within one (l) year, or so, upon the operator’s completion of probation.

That the Plaintiff also, reposed confidence in Defendant CENTRO and the Union and reasonably relied on,
to his detriment, Defendants expressed and/or implied promise and/or superior expertise or knowledge that
promotion to full-time bus operator would be, solely, based upon the Defendants and the Union’s policy
procedures and/or CBA agreement’s that any and all Part-timers, prior to being considered and, thereafter,
appointed to full-time bus operator positions that said Part-timers, fi_rst, must become familiar with any and

all required and/or mandatory full-time bus routes by riding said routes with full-time bus operators.

Second and that any and/or all appointments to full-time bus operator positions, all, shall be based upon

 

CENTRO’s and the Union’s regular yearly employee-evaluations, coupled with each full-time applicant
being evaluated under its Thirteen (13) point full-time required qualification system for advancement from

“part-time” bus operator to full-time bus operator.

That Plaintiff, during the years 2005-2007, on-going, first, discovered that Defendants had then previously
arbitrarily abandoned the aforementioned system for promotion to full-time bus operator and, that a new
arbitrary system centered upon a non-contractual full-time promotion policy and/or procedure whereby
newly hired bus operators are able to move into full-time bus operator positions almost immediately upon
their graduation from their thirty (30) day classroom and road training, as opposed to Plaintiff"s 1991-1992
thirteen (13) week period classroom and over-the-road training period.

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That the Defendants Frank_ Kobliski, _e_t_. a_l., and Union Business Agent, Chuck Watson, individually and/or
collectively, or acting together in improper combination, under color of state law, agreed to (and did) deny
and/or stultify Plaintifi"s access to the courts and/or access to administrative proceedings, all, so as to
prevent, as here, in the federal courts, Plaintiff from ever exposing to the public Defendants fraud, fraud on
he courts, fraudulent concealments and/or their constitutionally impermissible unlawful discriminatory

employment practices.

That each State and County Defendants’ decision to participate in this massive fraud, against Plaintiff, all,
was to insure that each and every Defendants participation in this private conspiracy would be maintained
(and in fact was maintained) in order that said constitutionally impermissible conduct could operate more
effectively. The success of` each Defendants fraud and/or conspiracy and overt acts in furtherance of this
conspiracy, all, depended on Defendants individual and/or collective malice against Plaintiff. Defendants
entire fraudulent conduct_ :all, was predicated on an invidious discriminatory animus. class based, agai_ns_t
Plaintiff because of his abilitv. courage, and/or willingness to exercise his first amendment constitutional

right to speak “truth to power,” on matters of public concem.

That each and every Defendant herein knew and/or should have known of the fiauds, frauds on the courts,
fraudulent concealments and/or, where applicable, wrongs then conspired to be done, against Plaintiff, and
having prior knowledge of` how said unlawful acts, frauds, and/or crimes would be committed, and having
the power to prevent and/or aid in its prevention of same, neglected and/or refused to aid in it prevention;
and, that each and every Defendants’ superiors herein, all, failed to properly train each employee, agent,

and/or subordinate employee and/or agent of Defendants

That Defendants failure to act, §i_rpg, was the result of their own obstructionist tactics and, that each and
every Defendant knew or reasonably should have known that the action he or she took within his or her
sphere of official responsibility would violate the constitutional rights of Plaintiff and, that each and every
Defendant herein took said action with the malicious intention to cause a deprivation of Plaintiff`s
constitutional rights and injury to his person; that the Defendants conduct independent of his or her

lawfulness or unlawfulness at state law, is sufficiently egregious as to be constitutionally tortuous.

Finally, that each and every Defendants intentional frauds and/or, where applicable, conspiracy to commit
fraud herein, all, involved a preconceived plan agreed upon by the Defendants, and their Defendant co-
conspirators, to accomplish a common goal via each Defendants willful participation in joint activity

through the use of their most powerful and influential employee(s) and/or board member(s) in Defendants

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corporate and/or state administrative community and, that each and/or every Defendant personally,
participated, authorized, directed advised, aided encouraged, ordered, sanctioned, condoned, approved

and/or ratified, all unlawful conduct complained of herein by Plaintiff

MEF’S WORI_( E[ISTORY AT CENTRO

On or about December of 1991, Plaintiff was chosen for hire, by Defendant CENTRO, out of a pool of
approximately two hundred (200) applicants that had applied for the position of part-time CENTRO Bus
Operator. As a result, twelve (12) people, including Plaintiff, was selected for bus operator training. Several
weeks after Plaintiff began his training as a part-time bus operator (i.e., December 20-24, 1991) he was
summoned by Defendant Waverly Faison (CENTRO’s then elite bus operator trainer) to meet with
Defendant Craig Williams (CENTRO’s then Director of Human Resources).

At the above meeting Defendant Williams told Plaintiff in the presence of Defendant Faison, that upon
Plaintiffs then future receipt of a Commercial Drivers License (“CDL”), Plaintiff would be transferred
from CENTRO, to PEACE Inc., as a CALL-A-BUS Operator.

Plaintiff, upon hearing the above revelation, respectfully, then informed both Defendants, s_ugr_aa that his

application to the New York State Labor Department identified CENTRO, not Peace, as the employer he
had chosen for 19-A trainiing, and eventually employment, at CENTRO, operating large buses, not mini

buses as are operated by PlEACE Inc.,

Defendant Williams then told Plaintiff that he should seriously consider working for PEACE because
Plaintiff’s resume showed that he had a background working with the disabled and, thus, based upon
Plaintiff’s then refusal to transfer to a lesser paying job with PEACE Inc., CENTRO would, nor could, not
guarantee that he will be offered an opportunity for promotion to full-time bus operator (in light of the fact
that CENTRO’s then previous advertisements, for part-time bus operators, said otherwise as to promotion

to full-time bus operator positions).

Almost immediately after the above conversation, Plaintiff rode the bus with former CENTRO bus
operator, Don Johnson, who, incidentally, was the individual who, first, had directed Plaintiff to apply to
CENTRO as a part-time bus operator. Interestingly enough, during Plaintiff’s ride home on the bus, and

then unbeknownst to Plaintiff, a conversation came up about the aforementioned subject of Peace and,

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whereupon, Don Johnson then replied, in words or in essence, “why would you want to work for Peace
driving their buses, at a lower rate of pay, when you can work for CENTRO and still do Call-A-Bus, for
Peace, at CENTRO’s higher rate; whatever he’s (Craig Williams) telling you, or trying to do, makes no

sense, because you can always sign up to do Call-A-Bus, or regular line work like I doing now.”

Thereafcer, in February of 1992, and at the conclusion of CENTRO’s then thirteen (13) weeks of training
for his Commercial Drivers License (“CDL”), Plaintiff was awarded his § 19-A, Vehicle and Traffic Law
(VTL) bus operator’s license. However, prior to taking to the road, Allen Brownjohn, CENTRO’s then elite
classroom and road trainer', told all twelve (12) trainees then that each of them had to draw lots for
CENTRO’s seniority records and, that said in-house records would be used to determine each persons then
future seniority classification with CENTRO. Ironically, Plaintiff then (by luck of the draw) selected the
number one (1) straw which then pole vaulted him into the number one (1) seniority position iri/of his class
of 1992 (I`M Plaintiff’s class then included the Defendant Joe Degray, V.P. of Operations).

During the years 1993-2001, the following acts occurred: The Plaintiff, after becoming # l, in seniority in
his class of 12 new bus operators and1 while waiting to be selected for training as a full time operator,
Defendants CENTRO and Union then, both, became aware that Plaintiff had helped a “part-time” bus
operator, named Sufiiddeen Ali, file an Equal Employment Opportunity Commission (“EEOC”) complaint
then challenging Defendants then highly unlawfirl discriminatory promotion practices of having then
previously, over the years, had promoted individuals from part-time bus operator to full-time bus operator,
not by his/her seniority date but, by the illegal and/or unlawful practice of “word of mouth” promotion (i.e.,
CENTRO and the Union would, secretly, ask and, thereby, promote individuals whom they thought should
be full-time operators, regardless of the individual’s hiring (starting) date.5 Plaintiff s successful filing of
said discrimination EEOC complaint ultimately forced both Defendants to do away with said unlawful
practices and, thus, a full-time bus operator’s sign-up list, based on seniority, was born. Plaintiffthen, in
relying on Defendants “good faith” in following the law, signed his named on the @r_d (3'°) li£ (slot) from
the top of the list, thus he then became the third person in line to be considered for training and promotion

as a full time operator.

 

5 Prior to Plaintiff’s successful EEOC complaint, drafted and filed on behalf of then part-time bus operator
Suffiddeen Ali, CENTRO and/or the Union was able to arbitrarily violate state and federal laws (which they still do,
as evident in this case) by arbitrarily promoting select individuals For Example, if a person was hired on January l,
2000 (and Centro and/or the Union disliked that person, for any reason) the Union and Centro then, under their old
policy, they would then unlawfully select, for promotional purposes, a person well liked by them that was hired, say,
several years later on January 1, 2008, thereby passing over the person(s) disliked by them.

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To no avail, however, late in 1993, after Plaintiff had just earlier reposed confidence in Defendants
CENTRO and the Union and had reasonably relied on their superior expertise, or knowledge, several of
Plaintif`f’ s classmates, including Defendant V.P. Joe Degray (but, excluding Plaintiff, however) said
classmates, all, were then given the opportunity to train, with pay, for full-time bus operator positions and,
thus, all, subsequently thereafter were hired that year, or shortly thereafter, as full time bus operators.

Next, and, all, as a result of Plaintiff’s filing of the EEOC complaint, §_QB Defendant Tom Shallcross
summoned Plaintiff into his dispatch area office whereat he then told Plaintiff, in words and/or in essence
(and in secret), that Plaintiff, probably, may never get the opportunity to become a full time bus operator
because Plaintiff’s resume showed he had some legal training in the past and thus a real possibility then
existed that CENTRO, and the Union, may never recommend promotion, Defendant Shallcross then

confided in Plaintiff that he, too, wanted to study law but somehow due to his first wife, he never did.

On or about the above time frame, while Plaintiff was operating an in-bound bus route from an area called
Nedrow to downtown Syracuse, N.Y., Plaintiff’s bus radio shouted out that a small child had wandered
away from her parents in the shopping area of Nedrow and, that the Police were asking for CENTRO’s help
in locating said child. Plaintiffthen, armed with the child’s height, race, and clothing description in mind,
minutes later, notified Defendant Scott Vanderpool (CENTRO’s then inside supervisor), that he had spotted
the child wandering across the street holding her doll baby in her arms. Plaintiff then, via his bus customers
consent, stayed with the child until the police with the parents arrived. As a result, however, Plaintiff
thereafter, never received a thank you, a commendation and, no recognition was ever forthcoming from
CENTRO (§eg News paper article by former Bus operator, author, Dwight Williamson (and African
American) wherein he had, single handedly, apprehended an individual who had just committed a felony
and CENTRO, knowing of said fact, gave away his hard earned written commendation, and a wall plaque,

to their favorite long-time "‘white” bus operator who, incidentally, was no where at the scene of the crime.

FALSE ACCIDENT REPORTS AND FALSE HARASSMENT
REPORTS BY WHITE jFEMALE} CO-WORKER OPERATORS

On or about same time, grpr_a1 a female bus operator name Bonnie Krell, per request of CENTRO
Defendants Carl Baker, Ellie Ruston, and/or Leo Williams, filed a blatantly false, fraudulent and
misleading complaint, falsely, charging Plaintiff with having caused her to be late getting downtown and,

thereby, harassed her.

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Defendants selectively chose Bonnie Krell’s then bus route, together with Plaintiff"s then bus route,
because both routes, after leaving the Syracuse University campus, and after traveling through the
downtown Syracuse area, said buses (then carrying all white passengers) proceeded out to the suburbs and,
thus, Defendants then believed that any false complaints made by a white female bus operator, against
Plaintiff`, that said complaints would then be corroborated by the all white group of passengers and, thus,
CENTO and the Union then would be able to terminate Plaintiff`, via their then racially motivated tactics.

Both Defendants then racist plans failed, each and every passenger then on both buses (Bonnie Krells bus
and Plaintiffs bus), all, in writing and/or by telephone interview corroborated Plaintiff’s version of the

facts, in that, Bonnie Krell was a perjurer and, that her complaints, all, were racially motivated.

Based upon Plaintiff’s “own” investigation into the above matters, coupled with Defendant’s being forced
to conduct a subsequent investigation, Defendant Carl Baker then, ultimately, admitted (as Plaintiff had
initially claimed) that he (Carl Baker), not Defendant Bonnie Krell, was the one who had written the
racially motivated false, fraudulent, and highly misleading complaint letter that led to Plaintiff being falsely
and maliciously charged, by CENTRO, and then, thereby, brought before CENTRO’s pre-termination
hearing on said false charges. Present at said pre-termination hearing was Defendants Craig Williams,
Waverly Faison, Defendant John Recock, and Plaintiff.

Next, and still refusing to promote Plaintiff`, on Monday June 21, 1993, after pulling his bus (# 720) out of
CENTRO’s bus garage, Plaintiff was flagged down by several pedestrians frantically shouting, ducking and
fleeing, while pointing that his “Black-Metal-Air-Vent-Grating” located on the passengers side of the bus
had, somehow, then managed to come loose and swing out and open. Plaintiff then immediately returned
bus No. 720, back to CENTRO and, thereafter, filed a lengthy typed written report, with photo exhibits
(which spoke at length on matters of public concern and/or public policy), all, written and filed with the
Defendant’s Supervisory A.ccident Investigation Team and, also, written and/or filed with then Chairman of
the Board, Defendant Cook and then C.E.O., Defendant Warren Frank.

As a result, on June 25, 1993, just five (5) days after the above, Defendant, supra, then elected to falsely
charge Plaintiff with having “caused” damage to the above-mentioned bus No. 720.

Plaintifi`, again, upon conducting his own investigation on Bus No. 720, discovered that the alleged “new”

damage, the above “Black- Metal-Air-Vent-Grating,” that said “new” damage was, in fact, “old” damage
that had prior to June 25, 1993, been on file with CENTRO, sixty five (65) days earlier, on April 7, 1993.

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Further, Plaintiff then also discovered that not only had said damage been documented on April 7, 1993,
but that the damage had gone un-repaired until the very day that Plaintiff had been assigned said Bus No.
720. ln 65 day old damage, according to reports, was the result of an driver having an “House High”

collision and/or scraping.

Another highly racially motivated incident occurred when Defendant Carl Baker summoned Plaintiff into
his office to tell Plaintiff that a either Baldwinville CENTRO Supervisor, or an Oswego Supervisor, had
contacted his office and complained that Plaintiff arrived in their area with a damaged bus. In reply,
Plaintiff told Defendant that not only had he never driven a bus to either area but, that he had never visited
said area and, that the complaining CENTRO Supervisor had identified the “wrong” black man.

Another similar, but more frightening race-based incident occurred when Defendant Patty Dishaw
(Manager of Service Development) asked Security Chief Defendant Waverly Faison to personally escort
Plaintiff to her office and, that Waverly Faison was to remain with Plaintiff`, until she formally, falsely,
fraudulently, and/or via sheer racial motivation, accused Plaintiff (and she did) of having caused a Clary
middle school child to dragged, by the back door, along side of a CENTRO bus, thus causing said child to

suffer serious injuries.

Defendant Patty Dishaw then, upon hearing Plaintiff adamantly deny her false allegations by saying,
“Listen Miss, you got the wrong guy, again, I don’t pick up Clary middle school kids and, my bus route
does not take me into Clary Middle School property, so, go find that bus operator. In a blatant show of
sheer prejudice and/or sheer arrogance, Defendant Dishaw then said to Plaintiff`, “Well, if you just admit to

it, it will only be your first accident, and the kid wasn’t hurt that bad.”

Next, and then unbeknownst to Plaintiff`, a Syracuse Police Officer who had been called to the accident
scene, M filed a rather detailed report wherein he recounted (and then known to Patty dishaw) that
Defendant Leo Williams, acting on behalf of CENTRO, arrived at Clary Middle school carrying five (5)
CENTRO Bus Operator [D' photographs, all, “black” man (one of which was Plairitiff) to be shown to the
all eye-witnesses via a photo array line-up identification procedure Not one child, including the victim,
ever identified (i.e., picked out a photograph of) any black man that had been shown to them by Defendant

Leo William, because the description of the bus operator, and known by Leo Williams, was “white”

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NOTE: The Police report stated, and then previously known to Defendant Williams, that a vast majority of
the eye-witnesses (all children) stated that the bus operator was NOT A BLACK MAN, but a “white man”
or “white female” and/or “wearing a hat” thus, Defendant Williams decision then concerning Plaintiff and
all other black bus operators, all, was a clear threat to his right (their right) to privacy and caused injury to

plaintiffs reputation without due process

Shortly thereafter, Plaintifif` discovered that CENTRO knew that he had not been involved in said accident
and, that said accident was caused by an “old time” operator because “old timers” were the only ones that
knew that CENTRO’s their bus series (the 800’s) move forward (i.e., operate) if the back door lock (switch)
was manually switched “off`.” Fortunately, and in a limited way, Waverly Faison then, somehow, and then
believing that Plaintiff had not caused said accident, s_up_raa made an independent check of Plaintiff’ s then
assigned bus and determined then that the “switch” and/or “lock” had not be tampered with; thus, Plaintiff

could not have been involved in said accident

Noteworthy, also, is that (at trial) incontrovertible evidence will show that both Defendant Musengo and
Defendant Leo Williams, both, tried to hide and/or suppress evidence of their then cover-up by depositing
damaging information and legal documents in Defendant RMSCO’s files w Due to Plaintiff’s ZEBRA
TEAM having recently moved their offices, all, documented evidence mentioned herein, all, will be filed

with the federal courts in tlie near future).

Years later, Plaintiff confronted Defendant Leo Williams with the above allegations At first, Defendant
Williams became defensive and immediately denied any raced-based involvement, whatsoever. However,
after being told that incontrovertible evidence existed that could point to his guilt, Defendant Williams
then, via an excited utteran.ce, blurted out (in words or in effect) I didn’t take 5 photographs of 5 black
drivers to Clary, for identification, I only took 3, photographs of black drivers, and the police officer is a

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liar....

Additionally false accident claims, by CENTRO, against Plaintiff, involved CENTRO falsely accusing
Plaintiff of driving his “grocery charter” bus over the front lawn of a senior citizen’s apartment building
According to the caller’s accident report, the driver drove off without stopping to check for damage,
Fortunately for Plaintiff, orie of CENTRO’s supervisors then, growing tired of seeing CENTRO’s white
supervisors trying to set Plaintiff up for discharge, warned Plaintiff that he was about to be falsely charged,
again, with a false accident and, advised Plaintiff to, again, do his own investigation (the Supervisor then

was Cornell Scott).

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As a result, and once again, Plaintiff went immediately to the scene of the accident and, thereby, after
snapping photographs of the deep tire tracts in the muddy grass and, then measuring the width and depth of
the tire tracts and, after interviewing the supervisor of the senior citizen’s home, Plaintiff then discovered
that (l), his bus did not caused the property damage because according to the building’s manager, the tire
tracts had been made, earlier in the day, by a Niagra Mohark truck and, finally, (2), that the driver of the

vehicle was a female.

The next false bus accidents were handled directly by Defendant Joe Degray whereby he then, via sheer
racially motivated hate for Plaintiff (and same dislike for any independent thinking and/or college educated
black man) falsely accused Plaintiff of having drove over CENTRO’s grass and/or mud near CENTRO’s
gas pumps (after CENTRO’s bus mechanics had set up (arranged) the accident scene). In fact, because all
false accidents had then been dismissed against Plaintiff`, Defendant Joe Degray then chose to arbitrarily,
unlawfully, and/or personailly, punish Plaintiff to demonstrate CENTRO’s racial supremacy. 6

As a result of Plaintiff having filed investigative findings, and reports, and complaints orr the above matters
of public concern _s_r_iLa1 Defendants, again, on July 7, 1993, decided to switch tactics and use, and they did
use, a white “male” bus operator to filed false, fraudulent, and misleading “damage to a bus” charges
against Plaintiff; and, again, after conducting his own independent investigation, coupled with him filing a
lengthy request for CENTRO’s internal records of said accident, under New York State’s Freedom of
Information Law, Art. 6, the Plaintiff, on September 15, 1993, received a letter from Defendant Senior V.P.

 

John Renock wherein he, faced with incontrovertible evidence of abject fiaud on the part of his supervisors,

and instead of offering an apology, he admitted to wrong doing, quite reluctantly, by stating:

 

6 According to sworn testimony, given by former CENTRO supervisor, Gary Morris (an African American), in
previous federal civil rights aetion, against CENTRO, Joe Degray was furious when CENTRO hired Gary Morris
(and, simultaneously, hired another black supervisor named Comell Scott). According to Gary Morris, Joe Degray
approached a senior white supervisor and inquired as to why Gary Morris was hired over him. Apparently, Joe Degray
thought that he, being white, made him more qualified as a supervisor than both Gary Morris and Comell Scott.
According to colut transcripts the Supervisor then promised Joe Degray that he would be the next person in line for a
supervisory position, but at the time, CENTRO was looking for minority supervisors (transcripts, dated November 13,
1998 and January 7, 1999, on file under Gary Morris vs CNY CENTRO.

Iri addition, ZEBRA TEAM Irivestigators are in possession of an official (i.e., the originals) of documents wherein Joe
Degray tried to discard and/or cover-up the “Racist” thought processes of white bus operators against their Afi'ican
American passengers all, found to exist on said white bus operators incident reports whereon Joe Degray’s name and
signature appears

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"On September 14, 1993, a meeting was held to review the alleged accident of July 7, 1993
. . .Present at the meeting were John Renock, Carl Baker, Craig Williams, Chuck Watson,
and yourself

At the meeting, you were informed by me that in the spirit of fairness the Company would
grant you the “benefit of doubt” of whether or not an accident occurred and would n_ot
charge you with insubordination for not filling out an accident report when given a verbal
order to do so . . .”.

During same time frame, Plaintiff was introduced, by a bus operator name George Moran, to another bus
operator named Andrew Martino, III (for purposes of this Civil Rights Complaint, both Moran and Martino
are white) Mr. Moran, who was the elder statesman then, convinced Plaintiff to apply for permission to join
the Union since, at that time, part timers were prohibited from joining the Union. Mr. Moran believed that

Plaintiff being in the Unio:n would, somehow, increase Plaintiff's chances of being considered for full-time.

In an around October of 1993, Plaintiff submitted his application for union membership, via a letter to
Defendant Union, Business Agent, Chuck Watson, asking for permission to join the Amalgamated Transit
Union, Local 5 80, of Syracuse, N.Y.

Defendant Chuck Watson then told Plaintifi`, in-person, that no Part-Time employee bus operator had ever
been allowed to join the Union and that before accepting Plaintiff’ s application for processing he had to

first consult with the Inteniational President of Amalgamated Transit Union, located in Washington D.C.
On November 1, 1993, Plaintiff became the “first” Part-Time bus operator to join Union Local 580, supra.

At Plaintiff’s first Union meeting, then held on Court Street, over a stripper’s bar, Defendant Watson and
Defendant Carnpbell, in air all out attempt to established their racial superiority over Plaintiff`, all, based
upon the Union’s then awareness of Plaintiff’s first amendment activities, s_upr_a1 both Defendants then, in a
consecutive manner of speech, told Plaintiff to “Sit down and shut the F-uck up,” as he then stood up to
speak on behalf of another driver, an Af`rican American that had been arbitrarily suspended, by Defendant
Carl Baker, for having asked for a Union rep.

Next, Plaintiff caused a stir at CENTRO when, for the first time ever, Plaintiff caused/forced CENTRO to
honor “part-time” bus operators for their year-to-year safe driving by having CENTRO issue, as was/is
issued to fiill-time bus operators, a National Safety Council Safe Driver Award. Plaintiff was the first
recipient of said award; the first being a one (1) year award (CENTRO refused to grant him retroactive
awards), and his second ward being a seven (7) year safe driving award (Initially, the CENTRO and the

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Union frowned on said award for “part-timer” until they discovered that Plaintiff had contacted the
National Safety Council and, thereby, discovered that CENTRO and the Union, over the years, had been in
error of denying said awards to any driver that had operated a bus safely for 400 _ 600 hours, regardless of

whether said driver was full-time or part-time.

Plaintiff also caused CENTRO official’s and Union Official’s hair to stand up (i.e., get a Don King Afio)
when he submitted a written and verbal proposal to both the Union and CENTRO asking both parties to
offer to the public a five hundred dollar (500) reward leading to the arrest and conviction of the individual
and/or individual(s) then responsible for the brutal assault, robbery, and vicious stabbing of a bus operator,
while he waited at the bus stop, located on Salina and Tallman Street, Syracuse, N.Y., to relieve a fellow
bus operator. After both the Union and CENTRO retiised to put up an award for a fellow bus operator and,
after several other bus operators (black and white) had joined in with Plaintiff to help distribute the reward
posters (fearing that they too could be the next victim), the Union and CENTRO then chose to joined in and

the reward was increased to one thousand dollars ($ 1,000.00).

While working as a Part-Time Bus Operator, Plaintiff chose to further increase his chances of being
promoted to a full time bus operator by borrowing an idea from Defendant Joe Calabrese (former C.E.O.,
of CEN'IRO). The idea was in the nature of distributing a “Customer First” letter to bus operators, and/or
the riding public, asking operators and/or the riding public to comment on CENTRO’s service and/or bus
operators Plaintiff then (and for many years thereafter) gave out a seven (7) page questionnaire, together
with a self-addressed stamped envelop, to all riding customers, at the end of his 3-4 months of driving them
to and from their daily schedules, thus, asking said customers to Please comment on his job performance
and, thereby, mail said questionnaire back to him, or to CENTRO. M; Each and every questionnaire
and/or customer letter mailed to CENTRO, on behalf of Plaintiff`, all, mentioned (i.e., rated Plaintiff as

being excellent in every single category).

On or about the fall of 1995, and/or shortly thereafter, Defendant CENTRO and the Union, instituted their
first known official drug policy, under federal law, as a result of Plaintiffs then representation of former
bus operator Dwight Williarnson who then had been wrongly accused of using an unverifiable drug and,
after said bus operator had published a series of true and rather damaging newspaper articles about how
CENTRO and the Union, on-going, bitterly discriminates against black bus operators who ask and, thereby,
receive effective representation from the Plaintiff and his ZEBRA TEAM first amendment advocates

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Union’s unlawful unwritten decision and determinations in denying him promotion to full-time. ln said
g%%§§c§j?§r%lé; a€§rl%li'aile§g%'€ c£i~?flrbl§ '€lle%‘he¢§l§r? 19 §{ 0§~/9&4§°¢?£%11 093 §§NTR<)
employee, and/or their then representing attomey(s) to tamper with United States government mails (which
someone did) by unlawfully removing Plaintiff’s Workers Compensation Board’s Appeal’s papers, that had
then been filed against Defendant attorney Michael O’brien (proof of tampering is available for review)

ln July 1999, Plaintiff successfully navigated former bus operator Evette Stenson’s return to work after the
Union and CENTRO then refused to reinstate her due to her then, long-term, on the job association with
ZEBRA TEAM members as told, by her, in her discrimination report dated July 21, 1999.

On or about September 13, 2000, Defendant Union, via Defendant Homer Davis and Defendant Union’s
attorney Stephanie Miner (Plus all other participants in the unlawful discriminatory expulsion of Plaintiff)
said Defendants then, in gross violation of state and federal laws, participated in a trial then known to them
to have been constitutionally impermissible and based upon fraud, and/or fraudulent concealment, in that,
neither Homer Davis, nor the Union’s attorneys, neither, never signed the Homer L. Davis Investigative
Report that was used by the Union and its Attomeys to gather support and, thereby, fraudulently convince

union membership to prosecute Plaintiff and his two fellow first amendment ZEBRA TEAM associates

Simply stated, each and every Defenth violated federal law, under F ederal Rules of Civil Procedure
(FRCP), Rule ll when they prosecuted the Plaintiff (and his then co-workers, Andrew Martino, IH, and,

 

Terrance Jackstadt) predicated on an unsworn and unsigned investigative report, all, after Plaintiff, in the
union hall (which was caught on tape) gave both the Union and Defendant attorney Stephanie Miner, iiill,
fair, adequate, and/or reasonable notice that any prosecution under the above circumstances would be

constitutionally impermissible and, thus, null and void.

ln sum, and just up to this point, from 1992, thru 2002, Defendants denied Plaintiff the opportunity to be
trained and/or merely considered as a full-time bus operator because of his on-the-job, and/or off-the-j ob,
constitutionally protected speech and employee grievance writings on matters of public concern; thus, both,
CENTRO and the Union then chose arbitrarily, and/or unconstitutionally, to simply ignore any attempts by
Plaintiff (i.e., legal wise and/or employee grievance wise) to compel them, either, individually and/or
collectively to observe his liberty interest, under the due process clause, to engage in any of the common
occupations of life, and/or observe Plaintiff’s right, expressed and/or implied, under their CBA and/or
under state and federal laws, to his legitimate claim, or entitlement, to have been promoted to a full-time

bus operator position and/or same constitutional rights and/or opportunity to have worked, 30, 40, 50, 60,

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or more hours, per week, like other part-timers have done in the past, and on-going, in excess of the CBA’s

limit of twenty five (25) hours. Board of Regents v. Roth, 408 U.S. 564 (1972)

FACTS ON THE DEFENDANTS FRAUDSl BREACH OF CONTRAQT;
UNLAWFUL RETALIA.TION AND/OR UNLAWFUL TERMlNATION.

 

On Wednesday, October 10, 2001, the Plaintiff, due to his on-the-j ob injury that had previously thereto
(almost l year earlier), occurred on August 17, 2000, telephoned Defendant’s Workers Compensation
Insurance carrier (Defendant “PERMA”) and, in speaking on matters of public concem, complained to its
then representative, Joan Mokay, about how “PERMA” and/or CENTRO had previously thereto (said
phone conversation) been intentionally and maliciously, via fraud, and/or fraudulent concealment,
discriminating against him by failing to fill out the Employer’s Statement on the NY. State Disability forms

so as to allow him to collect disability payment, pending the outcome of his Workers Compensation case.

Defendant PERMA (via “Jloan Mokay”) then instructed and/or induced Plaintiff to telephone Defendant’s
Benefits Manager, Defendant Jackie Musengo, immediately (i.e., that day) and, Defendant Mokay then also
told Plaintiff to make an appointment to personally visit with Defendant Musengo because, according to
Defendant Mokay , it was/is Defendant Musengo’s legal responsibility (not PERMA) to complete the
Employer’s Statement on the N.Y., State Disability forms and then forward all completed “Employer

Statemen ” disability forms to the employee’s physician(s); or,

Alternatively, as Defendant Mokay then told Plaintiff, Defendant Musengo should have and/or could have
sent the completed “Employer Statement” disability forms to the employee so as to have then allowed the

employee’s treating physic:ian(s) to complete their section of said forms.

On same October date, gr_};@ Plaintiff, immediately, telephoned another then similarly situated on-the-job
injured ZEBRA TEAM co-worker, bus operator, Terrance R. Jackstadt, and told him about the above
conversation. Both Terry Jackstadt and Plaintiff then telephoned Defendant Jackie Musengo and spoke to

her via conference call (i.e, all three individuals, above, were parties to the following phone conversation)

Plaintiff (and Terry Jackstadt) then, again, speaking on matters of public concem, both, then complained to
Defendant Musengo, about her then highly improper, discriminatory, and retaliatory treatment of their
Disability Benefits, all, due to Defendant Musengo’s then previous failure, via fraud and/or fraudulent
concealment, to complete the Employer’s Statement on their New York State Disability forms so as to have

then enabled Plaintiff (and Terry Tackstadt) to collect monetary benefits, under our New York State’s

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Disabiligg Law, pending an Administrative Law Judge’s (A.L.J.) decision on their Workers Compensation
cases both of which were then being controverted by the Defendants Workers Compensation Attomeys,
Attomeys Woods and Richman.

Next, after the above colloquy between Defendant Musengo and Plaintiff ended, Defendant Musengo then
told Plaintiff that if he wanted her to complete the “Employer’s Statement” on the disability forms that he
then had to come down to CENTRO, immediately, to pick up the completed “Employer’s Statement”; and,
further, Defendant Musengo then told Terry Jackstadt that the same “pick procedure” also applied to him,

Terry Jackstadt, however, then told Defendant Musengo that he was in too much pain to drive down to
CENTRO. He then proposed, and Defendant Musengo then agreed, that the Plaintiff would pick-up Terry
Jackstadt’s (Employer’s Statement) disability forms upon Plaintiff"s arrival at CENTRO.

Defendant Musengo then informed both individuals (i.e., Plaintiff and Terry Jackstadt) over the telephone
that the two (2) completed Employer’s Statement disability forms, an extra copy for Terry Jackstadt, both,
forms would be deposited, by her, in the PlaintifP s on-site employee mailbox (at CENTRO’s headquarters)

Plaintiff then, induced by Defendant Musengo’s expressed and/or implied agreement, and/or promise, to
him, which he then relied upon, to his own detriment, Plaintiff then drove to CENTRO’s headquarters to
pick up the two completed (2) disability forms.

However, prior to Plaintifi’s then arrival at CENTRO, Defendant Musengo, after hanging up the telephone,
s_ur&, she then immediately, with intent to unlawfully retaliate against Plaintiff (and Defendant Musengo
did), on the basis of his race and/or on the basis of one or more of the activities enumerated in the statues,
Qp;g contacted Defendants F rank Kobliski, and/or V.P., Rick Lee, and/or V.P., John Renock and/or V.P.
Joe Degray and, thereby, via her then, long-standing, racially motivated invidious discriminatory animus,
against plaintiff, concocted the following “baseless” “fanciful factual allegations”, all, “describing fantastic

or delusional scenarios” of`Plaintiff being the big black “Boogie man.” that was then coming to get her.

Next, Defendant Jackie Musengo, carried out her highly unlawful plot, s_up@, by by misrepresenting a
material fact to one or more said Defendants, M That her misrepresentation, all, were knowingly,
intentionally, deliberately, Willfdlly, intelligently, voluntarily, purposely, maliciously, recklessly, and in
“bad faith,” carried out with a callous indifference and/or disregard to Plaintiff"s then civil/constitutional

rights.

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Defendant Musengo effected her plot then by falsely, fraudulently, and/or misleadingly, telling Defendants
that Plaintiff then had previously, over the telephone, harassed and/or threatened her and, as a result, she
was afraid for her life and thus wanted something seriously done (and she did have something done) to
Plaintiff when he arrived a.t CENTRO to pick up his and then co-worker Terry Jackstadt’s completed
“Employer Statement” disability forms.

As a result of the above, Defendants Kobliski, RLock, D__eBy, and/or L_e_e then, individually/collectively,
upon hearing Defendant Musengo’s false, fraudulent, and/or highly misleading allegations, supra each
Defendant then, individually and/or collectively, ordered Defendant Musengo to, unlawfully, retaliate
against Plaintiff by placing (and Defendant Musengo did place) blank (i.e., non Employer’s Statement)
disability forms into Plaint:iff’s employee mail box so as to cause him to be denied and, thereby, suffer (and
Plaintiff did suffer, M_ming) deprivations of his state and/or federal constitutional rights to be immune

from unlawful and/or arbitrary discrimination in receiving state and/or federal disability benefits and/or

payments

In furtherance of each Defendants unlawful plans, s_uB, Defendant Kobliski then delegated the power
and/or authority to Defendant Lee, and/or Defendant Renock, to come up with (and each one did come up
with) an immediate unlawtirl plot to legally, illegally, and/or pretextually violate Plaintiff’s state and
federal constitutional rights so as to cause Plaintiff (and said plot did cause him), to suffer, mentally and/or

physically, a final and lasting impression of a serious physical assault on his body, upon his arrival.

ln order to effectively effectuate CENTRO’s unlawful plot, against Plaintiff, Defendant Renock then
selected one of CENTRO’s oldest and well known racist, Defendant Duke Bailey, an adult white supervisor
to do (and he did) their dir1y work for Defendants, supra.

Further, and in speaking with Defendant Bailey then (before Plaintiff’s arrival), Defendants Renock,
Kobliski, Rick Lee and/or lDegray (individually/collectively then), either, in person, or by telephone, so as
to place Plaintiff in a false light (which they all did) misrepresented the material facts to Defendant Bailey
about what Defendant Musengo had then previously told them about her prior telephone conversation with
Plaintiff.

The fraud, fraudulent concealment, and/or misrepresentation of the material fact(s), that were told to
Defendant Bailey, by his superiors then, was that Yusuf Nuraldin (“Plaintiff”) then was enroute to
CENTRO to possibly harass and/or do bodily harm to Defendant Musengo.

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Defendant Renock then delegated Defendant Bailey the unlawfirl authority to use excessive and/or sheer
unnecessary force, direct orders then ratified by all Defendants (i.e., Kobliski, Lee, Share, and DeGray) to
assault and batter Plaintiff (which defendant did) so as to evict him from CENTRO’s property.

Unbeknownst to Plaintiff then, relying on Defendant Musengo’s, expressed and/or implied, statements to
him, supra, drove to CENTRO to retrieve the two (2) N.Y. State disability forms

Upon arriving at CENTRO, Plaintiff then went immediately to his on-site employee mail box where he
retrieved two (2) blank N.Y. State Disability forms (i.e., the “Employer Statement” was blank). Plaintiff
then, highly disappointed that the Defendant Musengo had, via fraud, actual fraud, fraudulent concealment,
and/or unlawful retaliation, had chose not to fill out the “Employer’s Statement” on the form, as she has
done for other bus operators and bus mechanics (black and white) Plaintiff then decided to go into the

driver’s lounge to sit, talk, and wait for his co-worker friend, Andrew Martino, III, to get off from work. 7

In the end, and upon seeing Plaintiff in CENTRO’s lounge area, talking to bus operator Andy Martino, IH,
and others, Defendant John Renock then ordered Defendant Bailey to summon Plaintiff into CENTRO ‘s
dispatch office whereupon Defendant Bailey was further directed, via cell phone, from Defendant Renock,
to physically assault and batter Plaintiff afrer, pretextually, informing Plaintiff then that he then was no
longer employed at CENTRO and thus he then had no first amendment constitutional rights to sit and speak
with other drivers and, thus, was further prohibited from visiting CENTRO, forever. (&e_, attached
affidavits of, just tLo (2) of the many eye-witness Bus Operator(s) to this incident: Andrew Martino III,
dated October ll, 2001, and November 9. 2001, as Exhibit “A-l” and Exhibit “A-Z”); al_s_o _sL, certified
affidavit of CENTRO Bus Gperator, Samuel Johnson under sam MARTINO III M, as Exhibit “A-3”
§§ LeJ Plaintifi’ s w employee injury report, dated November 9, 2001, and, _se_e, Plaintiff" s Workers
Compensation afiidavit, dated October 24, 2001, attached hereto as Plaintiff’s Exhibit’s “B-l” and “B-2”

 

 

 

 

7 It must be noted at this time that the Defendants carefully and/or specifically selected Duke Bailey for this assault
case (i.e., excessive use of force case) due to each Defendants prior knowledge that Duke Bailey, throughout his
tenure at CENTRO, had committed an uncanny number of civil rights violations (i.e., non-violent, or violent assaults
and/or unlawful harassments against blacks, all, involving, whereas here, in Plaintiff’s case, Defendant Bailey caused
and/or committed against Plaintiff the following: (l) intentional infliction of emotional distress (2) extreme and
outrageous conduct, intent to cause, or disregard of a substantial probability of causing, severe emotional distress (3)
a causal connection between the conduct and injury ; and (4), severe emotional distress. (se_e, Howell v. New York
Post Company, 81 N.Y.2d 115, 612 N.E.Zd 699, 596 N.Y.S.2d 350 (1993).

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SPEAKING ON MATTERS OF PUBLIC CONCERN. AND

IN “GOOD FAITH.” PLAINTIFF, AND ANDREW MARTINO,
BOTH. CHOSE TO CONTACT DEFENDANTS’ AT'I`ORNEYS
THE “DAY AFTER” PLAINTIFF WAS ASSAULTED

On Thursday, October ll, 2001, Plaintiff and bus operator Andrew Martino, III, both then contacted
Defendant Attorney Craig Atlas (CENTRO’s then attomey) and told him of what had just happened to
Plaintiff one (l) day earlier (see, Andrew Martino, III’s, affidavit on this call, supra.)

At the conclusion of the above conversation, attorney Craig Atlas told both Plaintiff and Andrew Martino

that he would take a look into their allegations

On or about October 10, 2001, Plaintiff asked bus operator Andrew Martino, III, a friend, then co-worker,
and a long-term TEAM ZEBRA team field investigator, to write a detailed letter then memorializing, under
penalty of perjury (under 28 U.S.C.A § 1746) what he then had just then witnessed, if any thing, involving
Defendant Duke Bailey’s conduct on CENTRO’s property while speaking with Plaintiff`. Unbeknownst to
Plaintiff then was that Andlrew Martino, III, had also written a second sworn atiidavit of the incident on
November 9, 2001,

On or about the same day, Thursday October ll, 2001, Plaintiff, in good faith, personally called Defendant
John Renock and reported the above assault incident and, thereby, told Defendant Renock that Defenth
Duke Bailey had, in response to Plaintiff’ s question (on the day of the assault) “Duke! who told you to beat
on me,” that Defendant Bailey’s immediate reply then was that, “John Renock told me to physically put
you off the property, because you no longer worked here.” And, “That you had no first amendment rights to

hang around here, while out on comp, speaking to every one.”

Defendant Renock then, however, and in a blatant show of sheer prejudice, actual fraud, a cover-up, and/or

unlawful retaliation, responded by saying to Plaintiff, “That’s ridiculous, and why should I believe you.” 8

 

8 It must be observed that Defendant Senior V.P., Renock has historically, over the years, uttered the exact same
racially motivated sentiments “I don’t believe you (black person)” and/or why should I believe you (black person), to
all blacks who have complained to him, in writing and/or verbally, about racial discrimination by white employees
Proof, again, review the sworn deposition testimony of the federal case of Gary Morris vs CNY CENTRO, Inc.

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Based upon information and belief`, rumor then had it that Defendant John Renock, based upon the above,
on Friday October 12, 2001 (two days after the assault) sent Defendant Bailey away to Florida, so as to be

unavailable

On same Friday, October 12, 2001, Plaintiff was seen and examined, by Doctor Howard, located at the
Syracuse Community Health Center (SCHS). Doctor Howard then, via his Nurse (LPN), gave Plaintiff a
“retum to wor ” noted, dated 10/12/01, stating that plaintiff “will be able to return to work on 10/13/01”
(Noteworthy: Doctor Howard has seen and examined Plaintiff for various ailments more than any doctor in
Onondaga County and, the SCHC is where 95% of Plaintiff’s medical records are on file (al_§g_, noteworthy,
and subject to connection, is that Defendants have received a multiple of these same w of SCHC “return
to work” slips from, Plaintiff, during his almost ten (10) year tenure at CENTRO.

On or about October 15, 2001, Plaintiff wrote a hand written letter to Defendant Musengo then traveled to
CENTRO and, thereat deliver his “retum to work” note to Defendant Joe Degray, whereupon Defendant
Joe Degray then stated, after looking at the “retum to work” slip, “Well, based upon what occurred last
week between you (Plaintiff) and “Duke,” we can’t put you back to work driving until our investigation is
complete, so, you’ll have to wait, trust me! It won’t take that long; get in touch with chuck he’s been made
aware of what’s happening You’ll receive a call when you can come back to work, but right now you’ll

have to leave the property”.

Next, Plaintiff, ultimately to his detriment, then chose to rely on Defendant Degray’s then expressed and/or
implied promise, supra, that he (Plaintiff) would be immediately retuned back to work, as a bus operator, or
placed in CENTRO’s “Light Duty Program” and/or “Early Retum to Work Program” after CENTRO had

completed its investigation, 9

 

9 Defendant Joe Degray unlawfully denied Plaintiff his state and federal constitutional rights when he, first, refused to
return plaintiff back to work, if only for a day, upon receiving Plaintiff’ s back to work letter and, second, Plaintiff was
denied same rights when Defendant Degray failed to consider Plaintiff for CENTRO’s “Early Retum to Work
Program” as was done for former Bus Mechanic Jeffi'ey Thrall, in a letter dated March 21, 2002, which was carbon
copied to said Defendant, and also, copied to Defendants John Renock, Jackie Musengo, Mike Jablanski, Jr., and
Defendant Union Local, 580. Thus, Plaintiff now challenges the Defendant to state, under oath, that any of Plaintiff s
allegations herein are untrue.

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Plaintiff, to his detriment, also then relied on the fact that Defendant Degray then never, not once, alleged
and/or ever charged Plaintiff with having engaged in M prior misconduct, during the assault incident,
Yp;a, nor, ever alleged and/or charged Plaintiff with having then previously engaged in any misconduct at
the Workers Compensation Bureau, as Plaintiff’s subsequent termination letter had falsely stated and thus
Plaintiff then (rightly or wrongly) had no reason to believe that he would be subsequently thereafter fired,

via fraud, fraudulent concealment and/or unlawful retaliation.

More importantly, Plaintiff, to his detriment (and rightly or wrongly) reposed confidence in CENTRO and
his Union and then reasonably relied and trusted in the Union’s and/or CENTRO’s superior expertise, or
knowledge, under the leadership of Defendant Kobliski, that Defendants Degray, LEE, Share, and/or
Defendant Renock’s handling of said investigation would be fair, impartial, non-discriminatory, and/or

non-retaliatory thus, thereby, exonerating Plaintiff of any and/or all possible misconduct

Thus, and upon then believing in all the foregoing, Plaintiff then voluntarily chose to leave CENTRO’s
property, all, without ever trying to conduct his own independent investigation into said racial assault.
Further, Plaintiff then, before leaving CENTRO’s property, directly, walked over to Defendant Musengo’s
in-house office, and due to the fact that she then was not in her office, at the time, Plaintiff chose to scotch
tape a copy of his “return to work” slip (which he did) onto Defendant Musengo’s in-house personal office

telephone receiver,

On October 16, 2001, Samruel Johnson, a long-term ZEBRA TEAM member and bus operator, also, wrote
a statement detailing what he too had witnessed between Defendant Duke Bailey and Plaintiff seven (7)
days earlier on October 10, 2001

Unbeknownst to Plaintiff then, as to the reason why he was not allowed, on Monday October 15, 2001, to
return to work, via his doc'tor’s note, was that Defendant, Kobliski, Defendant LEE, Defendant Renock,
and/or Defendant Share, all, then were conducting a fairly massive racial profiling against any and all
African American bus operators that were present during Defendant Bailey’s physical assault on Plaintiff,

six (6) days earlier.

The purpose of Defendant Kobliski’s then race-based raid upon the African American community of
CENTRO bus operators, ajll, was nothing more than a last ditch effort to find someone, anyone, that would
tell a “lie,” against Plaintiff, for Defendant Kobliski and, thereby, sign a false statement fraudulently stating
that Plaintiff (not Duke Bailey) was the aggressor and, that Defendant Bailey was only defending himself.

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To no avail, after all African American black bus operators were interrogated, by their white supervisors,
senior vice presidents and/or mangers and, after all African American told the same story that Defendant
Duke Bailey, unprovoked, had initiated the altercation and/or physical assault on Plaintiff, Defendants then

chose to use pretext (and they did) to unlawfully terminate Plaintiff, per advice of Defendant attomeys.

On October 18, 2001 , Defendants Frank Kobliski, Renock, LEE, Share, and Degray, all, with advice and
consent from Defendants “BOD” and, with advice, consent, approval and/or complete ratification of
Defendant Chuck Watson, and all other Union Executive Board Members, all, violated Plaintiff’s rights to
privacy and, thereby, committed fraud, actual fraud, constructive fraud and, fraudulent concealment, via
Defendant Jablinski (former Employee Relations Manager) when they, all, unlawfirlly terminated Plaintiff,
in writing, by misrepresenting a material fact then known by all Defendants to be false, fraudulent and
misleading Portions of Defendant fraudulent letter, dated October 16, 2001, bears repeating:

Dear Mr. Nuraldin,

“ . . . “we (Centro) have been informed by the New York State Workers Compensation
Board that you are no longer eligible to receive benefits because you have not provided
them with medical information regarding the progress of your treatment for the injury.”

All defendants, §r_p_@,_ including Defendant Miles G. Lawlor (attomey), and Defendants WCB Attomeys
Woods and Richman, knew and/or should have known that Plaintiff had, in fact, just a few weeks and/or
months prior to his unlawful termination, and all via Defendant’s own Independent Medical Examiners,
“provided the WCB with information regarding the progress of his treatment for the injury (i.e., whatever
injury Defendants then were referring to).

On January ll, 2002, Defendant Miles G. Lawlor, committed s fraud on the WCB Courts when he filed a
false, fraudulent, and/or highly misleading letter falsely claiming then that a WCB person named “Carolyn”
informed him that Plaintifi:"s § 120 of the Workers Compensation Law would not be addressed at any then
firture hearing and, that “no such claim has been filed with the WCB . . “. (based upon Plaintiff’s talks with
a person named “Carolyn” of the WCB, she has no recollection, whatsoever, of ever having spoken to
Defendant Miles Lawlor).

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On January 22, 2002, and in total contrast to Defendant false and fraudulent termination letter, suprg the
Honorable Justice, Mr. Charles Welch, Workers Compensation Law (WCL) Judge, told Defendants Miles
Lawlor and Defendant Chistopher Richmond that Plaintiff (contrary to their letter allegations, supra that

Plaintiff was, in fact, entitled to receive “Benefit”

On or about December 2001, thru May 23, 2002, Defendant Unemployment Insurance Bureau (Departrnent
of Labor) and then having no jurisdiction of the following underlying issue (back to work letter) committed
fraud and/or fraudulent concealment, which was relied on by Plaintiff, when said Bureau denied Plaintiff
Unemployment Insurance benefits then falsely and fraudulently claiming that Plaintiff then had “failed to

provide medical documentation to show that you are physically able to perform wor .”

On or about Friday Noverrrber 4, 2005 , Plaintiff was denied access to the Courts, as a process server, and as
a non-party, interested per:son, under New York’s Civil Practice Law and Rules (CPLR) § 5051, et. seq., in
violation of his state and federal constitutional rights.

On or about Wednesday November 9, 2005, Plaintiff was denied same access to the Courts, s_up& when he
was denied his state and federal constitutional rights to speak on matters then involving Defendants fraud
on the courts and Defendants filing of false, fraudulent and misleading affidavits against Commissioner
Edward Garrow of the FMcs, s_u@

SUMMARY AND/OR LAUNDRY LIST OF DEFENDANTS’ BREACH OF
CON'll`ACT VIOLATIONS AND DEFENDANTS EGREGIOUS VIOLATIONS
OF STATE AND FEDERAL LAW COMBINED

(a), Plaintiff was denied the opportunity to train, with pay, for full-time Bus operator. In a false
statement to N.Y State Division of Human Rights (1998) Defendants attorneys falsely wrote
that Plaintiff had then previously refused full-time because he was in law school.

(b), Plaintiff, also as the # 1, seniority pick in his class, was denied his right, privilege, and/or
immunity under the CBA to be recommended and/or “interviewed,” by the Union, and/or
CENTRO for full time bus operator as was Plaintiff s class-mate Defendant Joe Degray,
who, incidentally, was far below Plaintiff in seniority.

(c), Plaintiff was denied his opportunity, as a “Part-time” operator, to earn full-time pay, with
over-time benefits, and thereby receive medical benefits, from ROCCO Insurance Company
as was granted to “others” (a white woman, in particular, initials D.L., (now-f`ull-time) by
working (i.e., driving his bus, or doing other odd jobs) in excess of twenty five (25) hours,
in gross violation of the CBA’s rules on the limited amount of hours (25) that part-time bus
operator could work, per week, i.e., excluding special events.

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(d), Plaintiff over the years was denied the right/privilege and, thereby, disciplined for getting off
his bus to use CENTRO’s bathroom, as “others” did (specifically white bus operators were
allowed to use the bathrooms) located inside CENTRO’s Regional Transportation Center
(“RTC”) where public transportation such as Grayhound buses arrive and depart daily.

(e), Defendant Musengo, CENTRO’s then Employee Relations Manager, after she suspended
Plaintiff, without pay, for going to the RTC bathroom, s_uB and, in the presence of then
Union President Dorothy Hunter and CENTRO’s Security Chief, told Plaintiff that ONLY
white Centro bus operators, traveling long distance bus routes, were permitted and/or had
prior permission to get off their buses at CENTRO’s RTC Center to stretch, get coffee,
sodas, and/or food, etc, etc, and/or to use the public restrooms.

(f), Next, Plaintiff, upon contacting CENTRO’s dispatcher to report that he had a serious nose
bleed, from the bus fumes, while operating a charter, approximately one (1) hour away from
CENTRO headquarters, Plaintiff then was told by CENTRO’s dispatchers NOT to call an
Ambulance but instead try to operate his bus safely back to CENTRO’s garage. Plaintiff’s
elderly passenger’s then snatched the bus phone from Plaintiff and yelled expletives into the
phone at the dispatcher and, thereby, they called the ambulance, whereby, Plaintiff then was
admitted into the hospital (had Plaintiff been white, CENTRO’s dispatchers would have
immediately, as they have done so in the past, called a for an ambulance (Unfortunately,
one Black bus operator (Benny Scott) died from a heart attack that he suffered (from a
severely cold bus) because CENTRO’s white dispatchers/supervisors then would not give
him “another” then available “warm” to drive, on a day, during almost sub-zero temperatures

(g), From in or about February 1992 until February 2001, Defendants Darrell Vanderpool and or
Jerry Deitz (now deceased), made use of filing false statements and/or false business records,
all, relating to false bus to car accidents, against Plaintiff, in retaliation for him having then
exercised his first amendment rights to speak on matters of public concem, as he did, in reply
to the following falsehoods

(h), Defendant Ellie Ruston (a new defendant) and Defendant Jerry Deitz both used a white male
bus operator, named Flemmings, to falsify a bus-to-lamp post accident, against Plaintiff;
however, then unbeknownst to both Defendants, s_upg, Plaintiff always carried a camera
and video equipment so as to document CENTRO’s daily unlawful employment practices
and, said photos of Defendant Ruston and Deitz’s frauds then, ultimately, caused Defendants
to admit to said fraudulent acts and, thereby, dismiss their false charges against Plaintiff

(i), Also, Defendants used a private citizen, a Blackman, to stage a bus-to-car accident; however
Plaintiff’s on-the-scene photo’s showed that Defendants’ Supervisors Jerry Deitz and Darryl
Vanderpool, both, had moved the previously “staged” automobile up to and directly parallel
to Plaintiff s bus, then took the false accident photographs, all, so as to make it appear that
Plaintiff had side swiped a “previously damaged”automobile (Unbeknownst to Defendants
then was that several Syracuse Fire Fighters, then on the scene, for an unrelated incident
witnessed Defendants Jerry Deitz and Darrell Vanderpool’s false reconstruction of a fake
bus-to-car accident and said the fire fighter (a Lieutenant) and his colleagues, plus a C.O.P.,
Citizen on patrol ticket officer, all, also over-heard both Defendants conversations on this
involving insurance fraud. As a result, the Lieutenant fire fighter subsequently thereafter, at
the firehouse, gave Plaintiff his telephone number and a written statement of the incident

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(i), Fraud, fraud on the court, constructive fraud, actual fraud

(k), Fraudulent Concealment

(L), Breach of Contract (N.Y.C.P.L.R § 213(8)

(m) Breach of fiduciary duty
(n), Tortious interference with contract

(o), Legal malpractice, by Defendants Attomeys

(p), Unlawful discriminatory employment practices, via the use, misuse, waste

and egregious abuse of state and federal funds

(q), Denial of access to the Workers Compensation Courts, in violation of

N.Y. State Worker Compensation Law § 120, Discrimination; and,
Denial of Plaintiff’s federal constitutional rights to Equal protection of
the law, due process of law, procedural due process, equal right under the
law, and Plaintiff’s state and federal constitutional rights not to be
discriminated against in exercising said rights (§e_e_, Commerce clause,
supra.

(r) Unlawful conspiracy and/or denial of access to the Courts as a non-party,

(S)

(t)

(u)

interested person, and/or process server, based upon race-discrimination
via, in violation of N.Y. State’s C.P.L.R. § 5015(a)(3)(4) and, in violation
of 42 U.S.C. § 1983, and/or fraud, under C.P.L.R. § 213(8) (also see,
Commerce clause, supra.

Defendants committed Fraud on the court, and misused state and federal
funds to engage in, promote, manage, direct, ratify, and/or fraudulently
conceal, unlawfully, a cover-up concerning Commissioner Edward Garrow
Mediator, of the Federal Mediation Conciliation Services (FMCS), his

non vote and/or non-final determination, at the Defendants CENTROs and
the Union’s Grievance Review Board (“GRB”) held on August 19, 2003,
for two former “terminated” and “disabled” CENTRO Employees named
Jeff`rey THRALL and Amos BURDEN.

At the Court’s discretion (i.e., if demonstrated by the evidence at trial)
Plaintiff alleges that all Defendants, individually/collectively violated
the Federal Racketeering Influence and Corrupt Organizations Act
(“RICO”), under 18 U.S.C. § 1962, within the applicable statute of
limitation period for fraud and/or civil and/or criminal acts

Egregious breach of contract because Plaintiff was denied due process and
or denied procedural due process, under the CBA, i.e., the right to fair
Notice and/or adequate notice of the charges filed against him that were
the basis for his termination, and a pre-termination opportunity to confront
the witnesses against him and, opportunity to respond to the person making
the termination decision and, a subsequent “evidentiary” hearing regarding
the termination (with reinstatement is Plaintiff prevailed; a name clearing

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hearing; the right to respond in writing Mathews v. Eldridge, 424 U.S. 319
(1976); Regents v. Roth, 408 U.S. 564 (1974); Amett v. Kennedya 416
U.S. 134 (1974), and also see, Goldberg v. Kelly, 397 U.S. 254 (1970)

(v) according to a “taped” conversation between Chuck Watson (Union CEO)
and a former unlawfully terminated female employee, Defendant Watson
said in a “taped recorded” telephone conversation that Defendant Kobliski

“mico manages” CENTRO and, thus, Plaintiff alleges that said Defendant
was involved and/or had personal control of each/every pre-termination
and/or post-termination investigation and/or decision and determination,
including any and all unlale WCB plots, against Plaintiff, which caused
Defendants to unlawfirlly discharge Plaintiff without due process of law
and/or without affording him his frmdamentally graranteed rights under
the CBA ‘s procedural due process clauses/non-discrimination clauses

(w) Denial of Plaintiff" s right and/or privilege, under the “CBA” to have had

his “disability” brought, heard, and/or considered, by the Union/CENTRO

` at Defendants’ Grievance Review Board (“GRB”), as a “terminated” and

` or “discharged” employee, with a disability, as was afforded to two (2)
other similarly situated “terminated” and/ or, “discharged” employees,
with “disabilities; ”namely, Jeffrey Thrall, a “white” male former Bus
mechanic and Amos Burden, bus operator and, an African American
male; (and, again, both men “terminated” and also then “disabled”)

(x) Plaintiff was denied his right via actual fraud and fraudulent concealment
to collect N.Y. State Workers Compensation Benefits (monetary and/or
medical) due to the Defendants unlawful and fraudulent conduct of filing

false, and/or misleading reports to the Workers Compensation Courts

stating that Plaintiff’s injuries “did not” arise in and out of the course of

his employment while, simultaneously, filing entirely different reports to
the ZURICH AMERICAN INSURANCE COMPANY, that Plaintiff"s:
“disability arose out of and in the course of your employment We suggest
you notify your employer and obtain a claim for Workers ’ Compensation
(F arm C-3) from the nearest Workers ’ compensation Board Ojice. ” (This
fraud was carried out on 11/25/02, so as to, simultaneously, deny (and said
misleading reports did deny, on-going, Plaintiff his N.Y. State disability
and worker compensation benefits)

 

Due to serious time constraint, this Amended Complaint will be re-filed, pursuant to Rule 15, and each
paragraph will be numbered. Sorry for the inconvience.

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